                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
v.                                                )            No. 3:04-CR-114
                                                  )
LIZA NICOLE VANDERPOOL-CHAVEZ,                    )            (GUYTON)
                                                  )
                      Defendant.                  )

                               MEMORANDUM AND ORDER

               The District Court assigned [Doc. 2] this case to the undersigned United States

Magistrate Judge on August 25, 2004, for all proceedings, including trial and entry of final

judgment. This case is before the Court on Defendant Vanderpool-Chavez’s Motion for Return

of Personal Property [Doc. 40], filed on May 16, 2005. The parties appeared for a sentencing

hearing on June 21, 2005. Assistant United States Attorneys Robert Simpson and Ed Schmutzer

appeared on behalf of the government. Attorney Kelly Johnson represented Defendant

Vanderpool-Chavez, who was also present. During the hearing, Attorney Johnson moved to

withdraw the motion, stating that the government had returned the property in question. The

defendant’s oral motion to withdraw the motion is GRANTED, and the Motion for Return of

Personal Property [Doc. 40] is DENIED as moot.

               IT IS SO ORDERED.

                                                  ENTER:


                                                        s/ H. Bruce Guyton
                                                  United States Magistrate Judge




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